         Case 2:13-cv-01831-NIQA Document 9-1 Filed 08/09/13 Page 1 of 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

                                                :
Eric Lyman, on behalf of himself and all others :
similarly situated,                             :
                                                :
                                                :
                                                  Civil Action No.: 2:13-cv-01831-LS
                     Plaintiff,                 :
        v.                                      :
                                                :
                                                                                                   (
Penn Credit Corporation,                        :
                                                                                                   D
                                                :
                                                                                                   R
                     Defendant.                 :
                                                                                                   H
                                                :

                                      PROPOSED ORDER

       Plaintiff’s Motion to Transfer Venue is hereby granted. The clerk is directed to transfer

this civil action to the Middle District for further proceedings.


       IT IS SO ORDERED.




                                                       _______________________
                                                       Hon. Nitza I. Quinones Alejandro
